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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                       CASE NO. 21-CR-60020-DIMITROULEAS


     UNITED STATES OF AMERICA

     vs.

     RICHARD WASERSTEIN
                                       /

                 RICHARD WASERSTEIN’S OBJECTION TO THE
                   PRE-SENTENCE INVESTIGATION REPORT

           Richard Waserstein files the following objection to the Presentence

     Investigation Report (PSR), Docket Entry 624. In addition to this objection, we

     also will be filing a sentencing memorandum explaining why a downward

     variance is appropriate in this case.

           1.     The parties have agreed that Mr. Waserstein’s Base
                  Offense Level is 24.

           The parties agree that the base offense level is calculated using

     §2S1.1(a)(1) and not §(a)(2). The probation office incorrectly used subsection

     (a)(2), which results in a two-level higher offense level. This is incorrect.

           2.     Waserstein’s Statement Regarding Loss, Forfeiture, and
                  Restitution.

           The factual proffer states that between April 2017 and September 2020,

     the total billings were $8,377,384 and that insurance companies paid

     $2,701,090. Waserstein made a total of $5,792,828.00. The parties intended

     and agreed that Waserstein should be held responsible for less than the

     Markovich brothers as “he was less involved in the day to day of the business.”


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     See factual proffer, DE 507. The parties also intended for Waserstein to be

     sentenced much lower than Dr. Lieberman (agreed low end range for

     Lieberman 108 versus 41 for Waserstein). At the sentencing of the Markovich

     brothers and Dr. Lieberman, the Court found that the defendants should be

     held responsible for about 10% of the billings for loss and forfeiture. If the

     Court were to use the same formula for Mr. Waserstein, his loss under the

     guidelines would be $837,738, which would lead to a sentencing result

     consistent with the parties’ intent. Forfeiture would also be reduced. It does

     not seem appropriate to hold Mr. Waserstein accountable for every dollar

     billed when the co-defendants received a different calculation.

           WHEREFORE Richard Waserstein respectfully requests that his

     objection be sustained.

                                                  Respectfully submitted,

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